Case 1:21-cv-02296-CJN Document 70-1 Filed 09/30/21 Page 1 of 5




                  EXHIBIT A
         Case 1:21-cv-02296-CJN Document 70-1 Filed 09/30/21 Page 2 of 5




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


MICHAEL J. LINDELL,
                  Plaintiff,
     vs.
US DOMINION, INC., DOMINION                                    Case No. 21-cv-2296-RBW
VOTING SYSTEMS, INC., DOMINION
VOTING SYSTEMS CORPORATION,
SMARTMATIC USA CORP.,
SMARTMATIC INTERNATIONAL
HOLDING B.V., and SGO
CORPORATION LIMITED,
                  Defendants.


                     DECLARATION OF MARTIN V. SINCLAIR, JR.
               IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

        I, Martin V. Sinclair, Jr., make the following declaration pursuant to 28 U.S.C. § 1746:

        1.      I make this declaration upon personal knowledge and am competent to testify to

the facts set forth.

        2.      I am an attorney at the law firm of Benesch, Friedlander, Coplan & Aronoff LLP

and counsel for Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited. My office address is 71 S. Wacker Drive, Suite 1600, Chicago, Illinois

60606. My business telephone number is (312) 212-4949.

        3.      I am a member in good standing of the Bar of the State of Illinois. I am also

admitted to practice in the United States District Court for the Northern District of Illinois, the

United States District Court for the Eastern District of Michigan, the United States Court of

Appeals for the Seventh Circuit, and the Supreme Court of the United States. Attached as

Exhibit 1 is a Certificate of Good Standing from the Bar of the State of Illinois dated

September 20, 2021.
        Case 1:21-cv-02296-CJN Document 70-1 Filed 09/30/21 Page 3 of 5




       4.      I certify that there are no pending disciplinary proceedings against me before any

bar, and I have not been disciplined by any bar in the past.

       5.      I have been admitted pro hac vice before this Court twice within the last

two years.

       6.      I reside and practice law from an office outside this District.

       7.      The name, address, telephone number and email address of the sponsoring

attorney of record for Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited is:

                                 Emily Newhouse Dillingham
                          Benesch, Friedlander, Coplan & Aronoff LLP
                                71 S. Wacker Drive, Suite 1600
                                       Chicago, IL 60606
                                  Telephone: (312) 212-4949
                                   Facsimile: (312) 767-9192
                             Email: edillingham@beneschlaw.com

       I declare under penalty of perjury that the foregoing is true and correct.


       EXECUTED this 30th day of September, 2021 at Chicago, Illinois.




                                                By: /s/ Martin V. Sinclair, Jr.
                                                    Martin V. Sinclair, Jr.
                                                       (Pro Hac Vice Forthcoming)
                                                    Benesch, Friedlander, Coplan & Aronoff LLP
                                                    71 South Wacker Drive, Suite 1600
                                                    Chicago, Illinois 60606-4637
                                                    Telephone: (312) 212.4949
                                                    Facsimile: (312) 767.9192


                                                     Counsel for Defendants Smartmatic USA
                                                     Corp., Smartmatic International Holding
                                                     B.V., and SGO Corporation Limited




                                                 2
Case 1:21-cv-02296-CJN Document 70-1 Filed 09/30/21 Page 4 of 5




                   EXHIBIT 1
Case 1:21-cv-02296-CJN Document 70-1 Filed 09/30/21 Page 5 of 5
